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1    LESLIE A. PARK, ESQ. (8870)
     630 South Seventh Street
2    Las Vegas, Nevada 89101
3    (702) 382-3847

4
                                   IN THE UNITED STATE DISTRICT COURT
5                                      FOR THE DISTRICT OF NEVADA

6
     UNITED STATES OF AMERICA
                                                            Case No.: 2:14-mj-00748-VCF
7
                                 Plaintiff,
8                                                           STIPULATION TO CONTINUE
        vs.                                                 PRELMINARY HEARING
9    THEREN PHILLIP FRAZIER
10
                                 Defendant.
11
12            IT IS HEREBY STIPULATED AND AGREED by and between DANIEL COWHIG,
13   Assistant United States Attorney, and KATHRYN NEWMAN, Assistant United States Attorney
14
     and LESLIE A. PARK, ESQ., counsel for Defendant, THEREN PHILLIP FRAZIER; that the
15
     preliminary hearing currently scheduled for December 18, 2014 at the hour of 4:00 p.m., be
16
     vacated until January 15, 2014, or to a date and time to be set by this Honorable Court.
17
              The Stipulation is entered into for the following reasons:
18
19            1.       The parties are attempting to resolve the case with a pre-indictment plea and

20                 require additional time to negotiate and discuss the terms of the plea.

21            2.       Denial of this request for continuance of the preliminary hearing would prejudice

22                 the defendant and the Government and unnecessarily consume this Court’s valuable
23                 resources, taking into account the exercise of due diligence,
24
              3.       Additionally, denial of this request for continuance could result in a miscarriage
25
                   of justice.
26
              4.       The additional time requested by this Stipulation is excludable in computing the
27
                   time within which the trial herein must commence pursuant to the Speedy Trial Act,
28
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1               Title 18, United States Code §§ 3161(b) and 3161(h)(8)(A), considering the factors
2               under Title 18, United States Code § 3161 (h)(8)(B)(I) and (iv).
3
            This is the first request to continue the preliminary hearing date filed herein.
4
            DATED this 12th day of December, 2014.
5
6
7
8
          /s/ Dan Cowhig                                   __/s/ Kathryn Newman
9    DAN COWHIG, ESQ.                                      KATHRYN NEWMAN, ESQ.
     Assistant United States Attorney                      Assistant United States Attorney
10
11   ____/s/ Leslie Park
     LESLIE PARK, ESQ.
12   Nevada Bar No. 008870
     Attorney for Defendant Theren Phillip Frazier
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5                            IN THE UNITED STATE DISTRICT COURT
                                 FOR THE DISTRICT OF NEVADA
6
7    UNITED STATES OF AMERICA
                                                        Case No.: 2:14-mj-00748-VCF
8                          Plaintiff,
                                                        ORDER CONTINUING
9       vs.                                             PRELIMINARY HEARING
     THEREN PHILLIP FRAZIER
10
11                         Defendant.

12
              Based upon the pending Stipulation of counsel, and good cause appearing therefor, the
13
14   Court hereby finds that:

15            IT IS HEREBY ORDERED that the preliminary hearing in the above-captioned matter

16   currently scheduled f or December 18, 2014 at 4:00 p.m., be vacated and continued to January

17   16, 2015 at the hour of 4:00 p.m.
18
              DATED AND DONE this 12th day of December, 2014.
19
20
                                                  _______________________________________
21
                                                  UNITED STATES MAGISTRATRE JUDGE
22
23
24   Respectfully Submitted By:
25   __/s/ Leslie A. Park
26   Leslie A. Park, Esq.
     Nevada Bar No. 008870
27   Attorney for Defendant Theren Phillip Frazier

28
